       Case 8-18-71748-ast            Doc 78       Filed 04/04/18   Entered 04/04/18 10:48:57




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------x
In re:                                                 :   Chapter 11
                                                       :
ORION HEALTHCORP, INC., et al.,                        :   Case No. 18-71748 (AST)
                                                       :
                           Debtors.                    :   (Jointly Administered)
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                NOTICE OF MOTION TO ADMIT COUNSEL PRO HAC VICE

        PLEASE TAKE NOTICE that, upon the annexed affidavit of movant in support of this

motion, applicant will move this Court before the Honorable Alan S. Trust at the United States

Bankruptcy Court, Eastern District of New York located at Alfonse M. D’Amato Federal

Courthouse 290 Federal Plaza, Central Islip, New York 11722, pursuant to Rule 2090-1(b) of the

Local Rules of the United States Bankruptcy Court for the Eastern District of New York, District

Court Local Rule 1.3(c), and District Court Administrative Order 97-13, for an Order allowing

the admission of movant, a member of the firm of Quinn Emanuel Urquhart & Sullivan, LLP and

a member in good standing of the Bar of the State of New York, and the U.S. District Court for

the Southern District of New York, as attorney pro hac vice to argue or try this case in whole or

in part as counsel.

        Dated: April 4, 2018
        New York, New York
                                                             /s/ Lindsay M. Weber         .
                                                           Lindsay M. Weber
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